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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                 :       Hon. André M. Espinosa
              v.
                                         :       Mag. No. 22-11147
CHRISTOPHER M. CODIO
                                         :       ORDER FOR CONTINUANCE



      1.     This matter came before the Court on the joint application of Philip R.

Sellinger, United States Attorney for the District of New Jersey (Chana Y. Zuckier,

Assistant U.S. Attorney, appearing), and defendant Christopher M. Codio (Stacy A.

Biancamano, Esq., appearing), for an order granting a continuance under 18 U.S.C.

§ 3161(h)(7)(A) through January 10, 2024.

      2.     This Court granted nine § 3161(h)(7)(A) continuances previously in

this case.

      3.     Counsel for the parties represented that this additional continuance is

necessary for effective preparation and to permit the parties to attempt to resolve

this case prior to indictment and thereby avoid a trial.

      4.     Counsel for the United States also represented that this additional

continuance is necessary to prevent any more non-excludable days under § 3161(h)

from expiring.

      5.     The defendant knows that he has the right under § 3161(b) to have

this matter submitted to a grand jury within thirty days after his arrest.

      6.     The defendant, through counsel, has consented to this continuance.
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      7.     FOR GOOD CAUSE, THIS COURT FINDS that this case should be

continued for the following reasons:

             a.     Plea negotiations are currently in progress, and both the United

States and the defendant desire additional time to negotiate a plea agreement,

which would render grand jury proceedings and a trial in this matter unnecessary.

             b.     Defendant has consented to the aforementioned continuance.

             c.     Despite the exercise of diligence, therefore, the circumstances of

this case require giving defense counsel a reasonable amount of additional time for

effective preparation.

             d.     Thus, the ends of justice served by granting the continuance and

preventing any further non-excludable days from passing under § 3161(h) outweigh

the best interest of the public and the defendant in a speedy trial.

      IT IS, therefore:

      ORDERED that this action is continued through January 10, 2024 and it is

further

      ORDERED that those days are excluded in computing time under the Speedy

Trial Act of 1974; and it is further




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      ORDERED that nothing in this Order or the application prompting it is a

finding or representation that less than 31 non-excludable days under § 3161(h)

have expired.


                     S/ANDRÉ M. ESPINOSA
                   HON. ANDRÉ M. ESPINOSA
                   United States Magistrate Judge

Dated: December 11, 2023

Form and entry consented to:



 /s/ Chana Y. Zuckier                  /s/ Stacy A. Biancamano
Chana U. Zuckier                      Stacy A. Biancamano, Esq.
Assistant U.S. Attorney               Counsel for Christopher M. Codio




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